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   8                           UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10                                WESTERN DIVISION
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  12
     UNITED STATES ex rel. CHI KWAN              Case No. 2:21-cv-04763-RGK-KS
  13 CHAN,
                                                 [PROPOSED] FINAL JUDGMENT
  14              Plaintiff,                     AGAINST DEFENDANT PHOENIX
                                                 TOOLS, INC.
  15        v.
  16 RGE MOTOR DIRECT INC. d/b/a
     ONEBIGOUTLET, and PHOENIX
  17 TOOLS, INC.,
  18
                  Defendants.
  19
  20        Having decided this action on a motion for default judgment, the Court orders
  21 that the plaintiff, United States ex rel. Chi Kwan Chan, recover from defendant
  22 Phoenix Tools, Inc., the amount of thirty-one million one hundred thirty-three
  23 thousand eight hundred forty-six dollars and seventy-nine cents ($31,133,846.79),
  24 plus post judgment interest at the rate of 4.87% per annum, along with costs.
  25
  26 Dated: 2/22/2023
                                            Honor
                                                orrable
                                                    ble R. Gary Klausner
  27                                        United States District Judge
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